ease 2:02-cr-20ll§LHBE)UNb”EEM<,STME$M$TMQHEGUQB 1 of 2 PagelD 93
FoR THE WESTERN DISTRICT oF TENNESSEE '

wEsTERN DIVISION mm ay 7 m D_¢.
UNITED sTATEs oF AMERICA, § 05 AUG __2 p" 5; 39
Plaintiff, ) M. ®ULD
vs. § Cr. No. QZMQ CLYKWNMP}OSM
TERRY BoWEN, §
Defendam. §

 

ORDER TO CONTINUE SUPERVISED RELEASE VIOLATION HEARING

 

It is hereby ORDERED that the Motion to Continue the Supervised Release Violation

Hearing is hereby GRANTED, and is now reset for B;Msgg\- 10 amos g 3200 m .

IT ls 50 0RDERED this the =>?Z fan of;ruly, 2005.

 

Approved: fl;¢_s-é M
Da dN. Pn`tchard

Special Assistant U.S. Attorney

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Notice of Distribution

This notice confirms a copy ofthc document docketed as number 85 in
case 2:02-CR-20191 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

John Thomas Tibbetts

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

